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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                                     / ?-?3
  INTERLINK PRODUCTS                                      Case No: 2:18-cv-%5-SDW-CLW
  INTERNATIONAL, INC.,


                         Plaintiff,

                                                               STIPULATION OF DISMISSAL
                         V.
                                                                    WITH PREJUDICE

  HOLEKAMP PRODUCTS, LLC,

                         Defendant.



         IT IS HEREBY STIPULATED AND AGREED, by and between Interlink Products

  International, Inc. and Holekamp Products, LLC, through their respective undersigned counsel of

  record, that all claims (including all counterclaims) asserted in this action are hereby dismissed

  with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each

  party shall bear its own attorneys’ fees and costs.

  Dated: October 30, 2019                                Dated: October 30, 2019


   s/Jason B. Lattimore                                   s/ Erik Anderson
  Jason B. Lattimore (pro hac vice)                      Erik Anderson, Esq.
  The Law Office Of                                      REARDON ANDERSON, LLC
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                                           So




                  977                                          [GENTON, U.S.D.J.
